                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,
          v.                                         Case No: 17-03126-03-CR-S-MDH


JUSTIN L. RHOADS,

                      Defendant.

                    GOVERNMENT’S SENTENCING MEMORANDUM

       The United States of America, by and through Timothy A. Garrison, United States

Attorney for the Western District of Missouri, and Josephine L. Stockard, Assistant United States

Attorney, respectfully submits this sentencing memorandum in the above-captioned matter, set for

a sentencing hearing on January 21, 2021. For the reasons set forth below, the Government

recommends that this Court sentence the defendant to a total term of incarceration of 235 months

and five years of supervised release.

                                        I. BACKGROUND

       On December 16, 2020, the defendant, Justin Rhoads, pleaded guilty before the Court to

Counts 1 and 2 of the Superseding Indictment without a plea agreement. On April 2, 2020, the

final Presentence Investigation Report (PSR, Doc. 187) was filed.

                                   II. LEGAL STANDARD

       Although the Sentencing Guidelines are no longer mandatory, United States v. Booker, 543

U.S. 220 (2005), sentencing still begins with a properly calculated, advisory Sentencing Guidelines

range. See Gall v. United States, 128 S. Ct. 586, 596 (2007); Rita v. United States, 127 S. Ct.

2456, 2464-65 (2007); Booker, 543 U.S. at 245-46; United States v. Plaza, 471 F.3d 928, 930 (8th




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Cir. 2006). Next, the Court must decide if a traditional departure under the Guidelines is

appropriate, thus creating an advisory Guidelines sentencing range. Plaza, 471 F.3d at 930. After

calculating the advisory Guidelines range, the Court considers that range, along with all the factors

listed in 18 U.S.C. § 3553(a), in arriving at the final sentence. Kimbrough v. United States, 128 S.

Ct. 558, 564 (2007); Plaza, 471 F.3d at 930.

                                        III. DISCUSSION

A.      Statutory and Guidelines Calculations

        PSR Calculations

        The PSR finds a Guidelines imprisonment range of 235 to 293 months. (PSR ¶ 72.) The

Government concurs with these calculations.

B.      Statutory Sentencing Factors

        This Court must “impose a sentence sufficient, but not greater than necessary” to address

the factors enumerated in 18 U.S.C. § 3553, including the Guidelines issued by the U.S. Sentencing

Commission. These factors include:

     1. Nature and Circumstances of the Offense; History and Characteristics of the Defendant;
        and Need to Promote Respect for the Law, Deter Criminal Conduct, and Protect the
        Community

        The defendant here agreed to be a drug courier for a friend of his, who needed help getting

a large amount of methamphetamine from the Kansas City area back to Southwest Missouri. (PSR

¶¶ 8-10.) He was stopped on his way back to Southwest Missouri with more than nine kilograms

of methamphetamine. (PSR ¶¶ 10 & 11.) In a somewhat unique situation, the fact that there were

wire intercepts during this case show that the defendant was pulled into this as a courier and simply

doing a favor for a friend, instead of showing his ongoing and pervasive participation in a large-

scale drug trafficking organization. There is no evidence that defendant was benefitting from his



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actions here, other than the benefit of doing a favor for a friend. Instead of that result, the defendant

will pay dearly in terms of the loss of freedom for doing that favor. Despite his limited role, the

defendant’s loss of freedom is appropriate because he knew what he was doing, he agreed to do it,

and the harm that would have flowed from the transaction with which he agreed to participate is

great. Nine kilograms of methamphetamine is anywhere from approximately 9,000 to 18,000

doses of methamphetamine. For that harm and his agreement to be part of it, the defendant does

deserve punishment, but the facts also call for a recognition of his limited role in this crime.

        The defendant has a criminal history that includes drug trafficking (PSR ¶ 36), drug

possession (PSR ¶ 39), driving while intoxicated (PSR ¶ 40), and assault (PSR ¶ 45.) The facts of

the assault are particularly concerning and fairly recent and should be considered when

determining whether he is a danger to the community. (PSR ¶ 45.) The defendant’s lack of success

on supervision in paragraph 45 and continued violations of other laws (PSR ¶¶ 29-35, 37-38, and

41-44) are also instructive in the consideration of the defendant’s continuing danger to the

community, respect for the law, and how best the court can deter him.

        Throughout his life, the defendant has evidenced a deep disrespect for the law in ways large

and small. His latest crime, while not evidencing a deep commitment to criminality, is not

surprising when viewed in the pattern and history of his life. Without a sentence that instills a

respect for the law in the defendant and deters him from future crimes, the Court can only expect

more of the same when it comes to violence and large scale drug distribution that imposes a great

danger and great potential harm to this community.

        Because of his role in this crime, the Government is recommending a sentence at the low

end of the advisory Guidelines, but based on the other 3553 factors, would argue that a sentence

that is any lower is not supported in this case.



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        2.      Need to Provide the Defendant with Education, Vocational Training, or Other
                Correctional Treatment

        The defendant could benefit from participation in both the RDAP and UNICOR programs

if he is to succeed after release.

                                        IV. CONCLUSION

        Section 3553 requires this Court to impose a sentence that considers the factors above,

including the advisory Guidelines range.          The Government respectfully requests that the

defendant’s behavior and history, the need to promote respect for the law, the need to deter criminal

conduct, the need to protect the public from the defendant, and any other statutory sentencing

factors be considered in reaching an appropriate sentence. The Government respectfully requests

that this Court impose a sentence of 235 months’ imprisonment.

                                                        Respectfully submitted,

                                                        TIMOTHY A. GARRISON
                                                        United States Attorney

                                                        /s/ Josephine L. Stockard
                                                        JOSEPHINE L. STOCKARD, Mo. Bar #63956
                                                        Assistant United States Attorney
                                                        Western District of Missouri
                                                        901 St. Louis Street, Suite 500
                                                        Springfield, Missouri 65806
                                                        (417) 831-4406


                                     CERTIFICATE OF SERVICE

        I hereby certify that on this the 15th day of January 2021, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system which sent e-mail notification of
such filing to all CM/ECF participants in this case.

                                                        /s/ Josephine L. Stockard
                                                        JOSEPHINE L. STOCKARD




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